
449 So.2d 1305 (1984)
L.S., a Juvenile, Appellant,
v.
The STATE of Florida, Appellee.
No. 83-1124.
District Court of Appeal of Florida, Third District.
May 15, 1984.
*1306 Bennett H. Brummer, Public Defender, and Robin H. Greene, Asst. Public Defender, for appellant.
Jim Smith, Atty. Gen., and G. Bart Billbrough, Asst. Atty. Gen., for appellee.
Before BASKIN, DANIEL S. PEARSON and JORGENSON, JJ.
BASKIN, Judge.
We find the evidence insufficient to support the trial court's adjudication of delinquency based upon loitering and prowling. The record discloses that fourteen year old L.S. and his two companions were arrested after police officers observed them crouching in the bushes near an expressway exit, an area known as the site of numerous robberies and purse snatchings. The state, however, has failed to show how crouching in the bushes near an expressway constitutes an unusual activity for a fourteen year old boy. In the Interest of O.W., 423 So.2d 1029 (Fla. 4th DCA 1982). Accordingly, we reverse the order finding L.S. guilty of loitering and prowling and remand for the entry of orders consistent with this opinion.
Reversed and remanded.
